Case 21-10205 Doc 28 Filed 02/08/21 Page 1of12

Fill in this information to identify the case:

Debtor Name DOWN Je DonNELL fte FHERS Ow
United States Bankruptcy Court for the: PALTIHO az = District of AMD

(State)

Case number: Al- (0205 MMH

 

 

Official Form 426

 

Periodic Report Regarding Value, Operations, and Profitability of Entities

in Which the Debtor’s Estate Holds a Substantial or Controlling Interest
12/17

This is the Periodic Report as of on the value, operations, and profitability of those entities in which a
Debtor holds, or two or more Debtors collectively hold, a substantial or controlling interest (a “Controlled Non-Debtor

Entity”), as required by Bankruptcy Rule 2015.3. For purposes of this form, “Debtor” shall include the estate of such

Debtor.
[Name of Debtor] holds a substantial or controlling interest in the following entities:
Name of Controlled Non-Debtor Entity Interest of the Debtor Tab #
a
MiHALY NePutRson SG6NokELLI LLC Say

 

 

 

This Periodic Report contains separate reports (Entity Reports) on the value, operations, and profitability of each
Controlled Non-Debtor Entity.

Each Entity Report consists of five exhibits.

Exhibit A contains the most recently available: balance sheet, statement of income (Joss), statement of cash flows,
and a statement of changes in shareholders’ or partners’ equity (deficit) for the period covered by the Entity Report,
along with summarized footnotes.

Exhibit B describes the Controlled Non-Debtor Entity’s business operations.
Exhibit C describes claims between the Controlled Non-Debtor Entity and any other Controlled Non-Debtor Entity.

Exhibit D describes how federal, state or local taxes, and any tax attributes, refunds, or other benefits, have been
allocated between or among the Controlled Non-Debtor Entity and any Debtor or any other Controlled Non-Debtor
Entity and includes a copy of each tax sharing or tax allocation agreement to which the Controlled Non-Debtor
Entity is a party with any other Controlled Non-Debtor Entity.

Exhibit E describes any payment, by the Controlled Non-Debtor Entity, OF ay Claiis, administrative expenses o1
professional fees that have been or could be asserted against any Debtor, or the incurrence of any obligation to make
such payments, together with the reason for the entity’s payment thereof or incurrence of any obligation with
respect thereto.

This Periodic Report must be signed by a representative of the trustee or debtor in possession.

Official Form 426 Periodic Report About Controlled Non-Debtor Entities’ Value, Operations, and Profitability page 1
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Debtor Name Jo bw) Wri)o N wey fe WAT Er Jun) Case number. ms \ - | o 25 iM wv I+

 

 

The undersigned, having reviewed the Entity Reports for each Controlled Non-Debtor Entity, and being familiar with the Debtor's
financial affairs, verifies under the penalty of perjury that to the best of his or her knowledge, (i) this Periodic Report and the
attached Entity Reports are complete, accurate, and truthful to the best of his or her knowledge, and (ii) the Debtor did not cause
the creation of any entity with actual deliberate intent to evade the requirements of Bankruptcy Rule 2015.3

 

 

 

 

 

 

 

For non-individual
Debtors: x
Signature of Authorized Individual
Printed name of Authorized Individual
Date
MM/ DD /YYYY
For individual Debtors: xX £4, N C yw — x
/ Signature of Debtor 1 ) Signature of Debtor 2
Zeid WP ect
Printed name of Debtor 1 Printed name of Debtor 2
Date o 2 oY 202 Date
MM/ DD /YYYY MM/ DD /YYYY

 

 

Official Form 426 Periodic Report About Controlled Non-Debtor Entity’s Value, Operations, and Profitability page 2
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Debtor Name GOH Me DONA ELE /4e FESO) Case number al- 1o,os MMH

 

 

aa Exhibit A: Financial Statements for [Name of Controlled Non-Debtor Entity]

 

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Official Form 426 Periodic Report About Controlled Non-Debtor Entity’s Value, Operations, and Profitability page 3
Debtor Name JF OMsI +e DONIN ELe He PA Ere SOW

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Case number el le /0205 HH Hy

 

 

ee Exhibit A-1: Balance Sheet for [Name of Controlled Non-Debtor Entity] as of [date]

[Provide a balance sheet dated as of the end of the most recent 3-month period of the current fiscal year and as of the

end of the preceding fiscal years ates ;

Describe the source of this information.]

 

(Mihaly, McPherson, Signorelli LLC (d/b/a MMS Advisors)

 

Balance Sheet

 

|

 

 

 

 

 

 

 

 

Information provided by MMS Advisors which was compiled from MMS Advisors' Bank Records
MMS Advisors uses cash basis accounting method for financial reporting and tax compliance

 

 

 

 

 

 

 

12/31/20 12/21/19
Assets
Cash 163,856.37 25,687.28 _
Building and Other Depreciable 17,528.16 17,528.16

 

Accumulated Depreciation

(17,528.16)

(17,528.16)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total Assets 167,716.87 29,547.78 |
Liabilities
Loans from 3rd Parties
Danny Mendelson 150,000.00 | 25,000.00
Kim Hinkle (Net) _ 64,970.00 64,970.00 |
Equity
McPherson Capital Account 8,203.00 | 8:203.00 |
Mihaly Capital Account 8,203.00 8,203.00
Retained Earnings (76,828.22) (43,932.75) |
Net Income 7 13,169.09 (32,895.47) |
- |Total Liability and Equity 167,716.87 | | 29,547.78 7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 426

Periodic Report About Controlled Non-Debtor Entity’s Value, Operations, and Profitability

page 4
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Case number 247 10205 MMH

 

A exninic A-2: Statement of Income (Loss) for [Name of Controlled Non-Debtor Entity] for period ending [date]

 

[Provide a statement of income (/oss) for the following periods:

(i) For the initial report:

a, the period between the end of the preceding fiscal year and the end of the most recent 3-month period of

the current fiscal year; and

b. the prior fiscal year.

 

Mihaly, McPherson, Signorelli LLC (d/b/a MMS Advisors)

 

Income Statement

 

 

 

Information provided by MMS Advisors which was com

piled from MMS Advisors

"B

ank Records

 

MMS Advisors uses cash basis c accounting method for financial reporting and tax compliance

 

 

12 months

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

12 months
12/31/20 12/31/19
Revenues 614,100.00 Revenues 2,384,154.99
Subcontract Costs 150,000.00 | |Subcontractor Costs 981,487.60 | |
Partner Draws Partner Draws
J. McPherson Draw 126,759.87 | | J. McPherson Draw 1,005,585.00
G. Mihaly Draw 24,763.34 G. Mihaly Draw 343,426.91
Rent 45,030.96 | /Rent 27,094.91
Accounting Svs 62.00 | |Accounting 1,823.75
Insurance 3,773.95 Insurance 7,508.88 x
Meals 4,568.91 | |Meals 6,484.99
7 Phone 1,680.00 | |Phone/WiFi/Cell 4,080.00
| Office Supplies 1,310.73 | ‘Office Fxnense —_ | 5,912.63 |
Travel 1,614.32 | |Travel 21,289.81 | |
IIT Services 4,954.36 | |IT Services 11,491.86
Donation 265.00 | [Development 864.12
Data 350.00
Legal Expense 232,985.50
Bank Fees 651.97 -
Car Insurance 1,800.00
WIFI 360.00
7 ; Total Expenses __ 600,930.91 | | Total Expenses _| | 2,417,050.46 |
Net Income (Loss) __ 13,169.09 | |Net Income (Loss) (32,895.47)

je 5

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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Debtor Name JGoHN Me DOANELL He MESON casenanier.gat CP 10208 MMY

 

 

ee Exhibit A-3: Statement of Cash Flows for [Name of Controlled Non-Debtor Entity] for period ending [date]

 

[Provide a statement of changes in cash position for the following periods:
(i) For the initial report:

a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
the current fiscal year; and

b. the prior fiscal year.

 

Mihaly, McPherson, Signorelli LLC (d/b/a MMS Advisors)
Statement of Cash Flows

Information provided by MMS Advisors which was compiled from MMS Advisors' Bank Records
MMS Advisors uses cash basis accounting method for financial reporting and tax compliance

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

12 months 42 months
12/31/20 12/31/19
__|Net Income (Loss) 13,169.09 (32,895.47) ;
____|Loans from 3rd Parties 125,000.00 89,970.00
Loan Repay from John Mcpherson | (41,558.00) :
Net Cash Flow - 138,169.09 | | 15,516.53 |
Beginning Cash Balance 25,687.28 10,170.75
Ending Cash Balance 163,856.37 | 25,687.28

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 426 Periodic Report About Controlled Non-Debtor Entity’s Value, Operations, and Profitability page 6
Case 21-10205 Doc 28 Filed 02/08/21 Page 7 of 12

Debtor Name GOHAN Ne PONE Lt Me PA éeCson

 

Case number al ~/020$ MM +t

 

 

Exhibit A-4: Statement of Changes in Shareholders’/Partners’ Equity (Deficif) for [Name of Controlled Non-Debtor Entity]
for period ending [date]

 

[Provide a statement of changes in shareholders’/partners equity (deficit) for the following periods:

(i) For the initial report:

a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of

the current fiscal year; and

b. the prior fiscal year.

 

Mihaly, McPherson, Signorelli LLC (d/b/a MMS Advisors)

 

Statement of Changes in Partners' Equity (Deficit)

 

| |

 

 

 

 

 

 

Information provided by MMS Advisors which was

compiled from MMS Advisors’ Bank Records

 

MMS Advisors uses cash basis accounting method for financial reporting and tax compliance

 

 

 

 

 

 

12/31/20 12/31/19
Equity |
McPherson Capital Account 8,203.00 8,203.00 7
| Mihaly Capital Account 8,203.00 8,213.00

 

Retained Earnings

(64,659.13)

(76,828.22)

 

Partners’ Deficit

(48,253.13) |

(60,422.22)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 426

Periodic Report About Controlled Non-Debtor Entity’s Value, Operations, and Profitability

 

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ey Exhibit B: Description of Operations for [Name of Controlled Non-Debtor Entity}

 

[Describe the nature and extent of the Debtor's interest in the Controlled Non-Debtor Entity.

Describe the business conducted and intended to be conducted by the Controlled Non-Debtor Entity, focusing on the
entity's dominant business segments.

Describe the source of this information.]

 

Mihaly, McPherson, Signorelli LLC (d/b/a MMS Advisors)

The following information is provided by MMS Advisors

 

 

John McDonnell McPherson is 50% owner (LLC Member) of MMS Advisors.

 

 

MMS Advisors is a consulting firm providing forensic accounting and surety support services. It
plans to continue providing these services.

 

 

 

 

 

 

 

 

 

 

 

 

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Debtor Name ZOUN HeDONNELe [Me Pestesoxl Case number. ele (oAa ye MHH

ae Exhibit C: Description of Intercompany Claims

[List and describe the Controlled Non-Debtor Entity’s claims against any other Controlled Non-Debtor Entity, together with
the basis for such claims and whether each claim is contingent, unliquidated or disputed.

Describe the source of this information.]

N/A

Official Form 426 Periodic Report About Controlled Non-Debtor Entity’s Value, Operations, and Profitability page 9
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Debtor Name 0 OHA He DONH ELL Me PesERS OK Case number Al- (0203 MMH

 

 

fd Exhibit D: Aliocation of Tax Liabilities and Assets

 

[Describe how income, losses, tax payments, tax refunds, or other tax attributes relating to federal, state, or local taxes
have been allocated between or among the Controlled Non-Debtor Entity and one or more other Controlled Non-Debtor
Entities.

Include a copy of each tax sharing or tax allocation agreement to which the entity is a party with any other Controlled
Non-Debtor Entity.

Describe the source of this information.]

N /4

Official Form 426 Periodic Report About Controlled Non-Debtor Entity’s Value, Operations, and Profitability page 10
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Debtor Name FOHA He DONNELE Pte PHER SOM Case number JOA0S MH H

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a

 

Exhibit E: Description of Controlled Non-Debtor Entity’s payments of Administrative Expenses, or Professional Fees
otherwise payable by a Debtor

[Describe any payment made, or obligations incurred (or claims purchased), by the Controlled Non-Debtor Entity in
connection with any claims, administrative expenses, or professional fees that have been or could be asserted against

any Debtor.

Describe the source of this information.]

Official Form 426 Periodic Report About Controlled Non-Debtor Entity’s Value, Operations, and Profitability page 11
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Debtor Name JFOHA) He DOWNELE fe PHER SOM Case number Al- son oy MH if

 

Exhibit E: Description of Controlled Non-Debtor Entity’s payments of Administrative Expenses, or Professional Fees
otherwise payable by a Debtor

[Describe any payment made, or obligations incurred (or claims purchased), by the Controlled Non-Debtor Entity in
connection with any claims, administrative expenses, or professional fees that have been or could be asserted against
any Debtor.

Describe the source of this information.]
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